Case 6:20-cv-00699-ADA Document 1-1 Filed 07/30/20 Page 1 of 19




     Exhibit A
         Case 6:20-cv-00699-ADA Document 1-1 Filed 07/30/20 Page 2 of 19

                                                                                            US010465445B2


(12 )Getzlaf
      Unitedet alStates
                  .
                        Patent                                           ( 10 ) Patent No.: US 10,465,445 B2
                                                                         (45 ) Date of Patent:    Nov. 5 , 2019
(54 ) CASING FLOAT TOOL                                              (58 ) Field of Classification Search
                                                                              CPC            E21B 7/20 ; E21B 17/14 ; E21B 33/146
(71) Applicant: NCS Multistage Inc., Calgary, Alberta                         See application file for complete search history.
                   (CA)
(72 ) Inventors: Donald Getzlaf, Calgary (CA ); Marty                (56 )                 References Cited
                 Stromquist, Calgary (CA ); John                                      U.S. PATENT DOCUMENTS
                 Ravensbergen , DeWinton (CA ); David
                 Devlin , Calgary (CA ); Douglas                             2,008,818 A      7/1935 Corbett
                 Braden , Calgary (CA ); Travis Harris ,                     2,117,318 A      5/1938 Hanes
                 Houston , TX (US)                                                                 (Continued )
(73 ) Assignee : NCS MULTISTAGE INC., Calgary,                                             OTHER PUBLICATIONS
                 Alberta (CA )
( * ) Notice : Subject to any disclaimer, the term of this           Rogers, H. E., Bolado , D. L., & Sullaway, B. L. (Jan. 1, 1998 ).
                 patent is extended or adjusted under 35             Buoyancy Assist Extends Casing Reach in Horizontal Wells. Soci
                 U.S.C. 154(b ) by 0 days .                          ety of Petroleum Engineers. ( Year: 1998 ).*
( 21) Appl. No.: 15 /919,370                                         Primary Examiner Kristyn A Hall
                                                                     Assistant Examiner — Tara E Schimpf
( 22 ) Filed : Mar. 13 , 2018
                                                                     (57 )                     ABSTRACT
(65)                 Prior Publication Data
                                                                     A rupture disc assembly and a float tool incorporating the
       US 2018/0202260 A1          Jul. 19 , 2018                   rupture disc assembly is disclosed . The rupture disc assem
             Related U.S. Application Data                          bly may include a rupture disc assembly comprising a
(60 ) Continuation of application No. 15 /421,222 , filed on        rupture disc, an upper tubular portion and a lower tubular
      Jan. 31 , 2017, which is a division of application No.        portion , and a securing mechanism for holding the rupture
                        (Continued )                                disc between the upper and lower tubular portions. A float
                                                                    tool for creating a buoyant chamber in a casing string may
(51) Int. CI.                                                       include the rupture disc assembly and a sealing device for
      E21B 7/20               ( 2006.01 )                           sealing the lower end of the casing string , the buoyant,
       E21B 33/14               ( 2006.01 )                         sealed chambermay be created there between . In operation ,
                          (Continued )                              applied fluid pressure causes the rupture disc to move
                                                                    downward . The rupture disc may be shattered by contact
(52) U.S. CI.                                                       with a surface on the lower tubular portion . Full casing
       CPC                E21B 7/20 ( 2013.01 ); E21B 17/08         internal diameter may be restored in the region where the
             (2013.01); E21B 17/14 ( 2013.01 ); E21B 21/10          rupture disc formerly sealed the casing.
                                                     (2013.01);
                          (Continued )                                             57 Claims, 7 Drawing Sheets

                                                                                                       -10
                     16               20      24 22        24 29 50 527-44 -18
       12                                                                                       -25/27

                                                36
                                                30            -38

                                                                    32                       -58
                54
                                                                             34
                                                                                                                  -56   14
                                                    24-22'24_160 28 39 26
         Case 6:20-cv-00699-ADA Document 1-1 Filed 07/30/20 Page 3 of 19


                                                 US 10,465,445 B2
                                                          Page 2

             Related U.S. Application Data                     (56 )                   References Cited
      13 / 930,683, filed on Jun . 28 , 2013 , now Pat. No.                     U.S. PATENT DOCUMENTS
      9,593,542
                                                                       3,779,263 A     12/1973 Edwards
                                                                       3,831,680 A * 8/1974 Edwards           E21B 21/10
(60 ) Provisional application No. 61/761,070 , filed on Feb.                                                     166/311
      5 , 2013.                                                        5,479,986 A    1/1996 Gano
                                                                       5,829,526 A   11/1998 Rogers
                                                                       5,924,696 A * 7/1999 Frazier          E21B 34/063
                                                                                                                  138/90
(51) Int. Cl.                                                          7,090,027 B1 8/2006 Williams
      E21B   21/10           (2006.01 )                                7,640,984 B2   1/2010 Vert et al .
      E21B   17/14           ( 2006.01)                                7,661,480 B2 2/2010 Ammal
      E21B   34/06           ( 2006.01)                                7,757,764 B2 7/2010 Vert et al.
                                                                       8,424,605 B1 4/2013 Schultz et al .
      E21B   17/08            (2006.01 )                           2008/0115942 A1 *    5/2008 Keller         E21B 34/06
                                                                                                                166/380
(52) U.S. CI.                                                      2011/0253387 A1 * 10/2011 Ervin           E21B 7/061
      CPC                                                                                                        166/382
                     E21B 33/14 (2013.01 ); E21B 33/146
                        (2013.01 ); E21B 347063 (2013.01)      * cited by examiner
        Case 6:20-cv-00699-ADA Document 1-1 Filed 07/30/20 Page 4 of 19


U.S. Patent                  Nov. 5 , 2019   Sheet 1 of 7        US 10,465,445 B2




  93
  130
          IT          -92
                                                            90

                      94
                      110


  36
               > 10
  30
                      -120
                                       100   -70      98             -96     92

       150
                                                     140
                                                                           FIG.1
    Case 6:20-cv-00699-ADA Document 1-1 Filed 07/30/20 Page 5 of 19


U.S. Patent       Nov. 5 , 2019    Sheet 2 of 7           US 10,465,445 B2




                                                         -10
            16    20     24 , 22 , 24,29 5052744-18
  12
                                                       25/27

                          36
                          30      38

                                       32         58
       54
                                            34

                           24 2224_160 28 39 26
                                                               T   -56 -14




                                                                      FIG.2
    Case 6:20-cv-00699-ADA Document 1-1 Filed 07/30/20 Page 6 of 19


U.S. Patent        Nov. 5 , 2019        Sheet 3 of 7         US 10,465,445 B2




                                                       18    56              -10
                                               52
                                          44
                                   30
                              20

              16

                                                                       25
                                                                  58

                                                            50

                                            24/12224


                        -54

                                                                            FIG.3
       Case 6:20-cv-00699-ADA Document 1-1 Filed 07/30/20 Page 7 of 19


U.S. Patent          Nov. 5 , 2019     Sheet 4 of 7            US 10,465,445 B2




   4C


                                                                  40

                                                         -46                     46
                                                                            48
                                                         -48           46

  46                             -46

                                                         -45
                                                                       FIG.4C

                              FIG.4A                  FIG.4B
    Case 6:20-cv-00699-ADA Document 1-1 Filed 07/30/20 Page 8 of 19


U.S. Patent       Nov. 5 , 2019   Sheet 5 of 7        US 10,465,445 B2




       30           67




                                                   -69


                                                         FIG.5
    Case 6:20-cv-00699-ADA Document 1-1 Filed 07/30/20 Page 9 of 19


U.S. Patent       Nov. 5 , 2019   Sheet 6 of 7           US 10,465,445 B2




                    30


          44




                                                 FIG.6
   Case 6:20-cv-00699-ADA Document 1-1 Filed 07/30/20 Page 10 of 19


U.S. Patent        Nov. 5 , 2019   Sheet 7 of 7        US 10,465,445 B2




                      74

                                                  70

              78



                                                  76



                                                  72



                                   80
                                                   FIG.7
          Case 6:20-cv-00699-ADA Document 1-1 Filed 07/30/20 Page 11 of 19


                                                      US 10,465,445 B2
                                 1                                                                     2
                  CASING FLOAT TOOL                                                          BRIEF SUMMARY
            CROSS -REFERENCE TO RELATED                              Generally , this disclosure relates to an improved rupture
                    APPLICATIONS                                   disc assembly and improved rupture disc within the assem
                                                                 5 bly wherein the rupture disc , when installed in the wellbore ,
                                                                   can be ruptured by engagement with an impact surface of a
   This application is a continuation of U.S. application Ser . tubular
No. 15 /421,222 filed on Jan. 31 , 2017 , which is a division of           once a rupturing force is applied to the disc, such as
U.S. application Ser. No. 13 /930,683 filed on Jun . 28 , 2013 , by   hydraulic fluid under pressure. The disc can be impelled
now issued as U.S. Pat. No. 9,593,542 which claims the 10 to For      impact against this impact surface , and rupture as a result.
benefit of U.S. Provisional Application No.61 /761,070 filed string byexample      , the disc may be engaged within the casing
                                                                             a securing mechanism , which may be a shear ring.
on Feb. 5 , 2013 , the disclosures of which are hereby                  When freed from the constraints of the securingmechanism ,
incorporated by reference in their entireties.                     the disc shatters against an impact surface within the casing
                FIELD OF THE INVENTION                             string ( e.g. a surface of a tubular). Hydraulic pressure does
                                                                15 not cause rupture of the disc all by itself. Rather, hydraulic
   This invention relates to a method and apparatus for mechanism  pressure causes disruption or shearing of the securing
sealing well casings .                                                          , such that the rupture disc is shattered by
                                                                   engagement against an impact surface within the casing
                      BACKGROUND
                                                                   string . The hydraulic pressure required to cause disruption of
                                                                20 the securing mechanism is less than the hydraulic pressure
   In many wells , itmay be difficult to run the casing to great that   would normally be required to break the rupture disc .
                                                                    The engagement of the disc against the impact surface (the
depths because friction between the wellbore and the casing disc being impelled against the impact surface ) allows the
often results in a substantial amount of drag . This is par disc to rupture at lower pressure than would generally be
ticularly true in horizontal and /or deviated wells . In some 25 required if hydraulic pressure alone was the sole mechanism
cases, the drag on the casing can exceed the available weight for rupturing the disc , thereby allowing less hydraulic pres
in the vertical section of the wellbore . If there is insufficient      sure to be required for the disc to be ruptured . Also , as will
weight in the vertical portion of the wellbore, it may be               be described below , this allows the disc to be broken into
difficult or impossible to overcome drag in the wellbore .              suitably-sized pieces that will not affect wellbore equipment
    Various attempts have been made to overcome this drag 30            such as float devices .
and achieve greater well depths and/or to achieve a hori                    There is no need to send weights , sharp objects or other
zontalwell. For example, techniques to alterwellbore geom               devices ( e.g. drop bars or sinker bars ) down the casing string
etry are avai le, but these techniques can be time-consum               to break the rupture disc . Nor is there a need for complicated
ing and expensive. Techniques to lighten or “ float” the                tubular arrangements , such as sliding sleeves to break the
casing have been used to extend the depth of well . For 35              rupture disc . Such sleeves do not tend to break the disc into
example , there exists techniques in which the ends of a                sufficiently small pieces . In the present arrangement , the
casing string portion are plugged , the plugged portion is              rupture disc and rupture disc assembly can be so arranged
filled with a low density , miscible fluid to provide a buoyant         that the rupture disc gets broken in sufficiently small pieces
 force . After the plugged portion is placed in the wellbore , the      that the disc pieces can be removed by fluid circulation,
plugs must be drilled out, and the low density miscible fluid 40        without damaging the casing string. In addition, full casing
is forced out into the wellbore . The extra step of drilling out        ID ( inside diameter ) is restored after the rupture disc is
increases completion time. Some flotation devices require a             broken , so that there is no need to drill out any part of the
packer to seal the casing above the air chamber. In these               device . This full casing ID is useful for use in ball-drop
cases, the chamber is sealed at its upper end by a packer. The          systems. Once the disc has ruptured , normal operations ,
packer may be removed from the casing string using a 45                  such as cementing , may be performed . The device is
conventional drill-type workstring, for example.                        straight- forward to install ,avoids the cost and complexity of
   In many casing float techniques and devices, it may notbe            many known casing flotation methods and devices, and
possible to achieve full casing ID ( inside diameter ) follow           decreases completion time.
ing the opening of the air chamber. It is desirable to achieve             According to one aspect, the rupture disc assembly com
 full casing ID so thatdownhole tools can be conveyed to this        50 prises an upper tubular member, and a lower tubular member
region of the casing string and so that operations, such as             coupled with the upper tubular member. The rupture disc is
cementing can be easily carried out using conventional                  held in sealing engagement between the upper tubular
ball-drop techniques, or other conventional techniques .                member and the lower tubularmember by a securing mecha
Also ,many float devices require the use ofspecialized float  nism . The rupture disc is secured above or within the lower
shoes and /or float collars .                              55 tubular member such that the rupture disc can move down
  It would be desirable to have a flotation chamber (also ward into a constricted area of the lower tubular member in
referred to herein as a “ float chamber” or “ buoyant cham    response to hydraulic fluid pressure , and rupture as a result
ber ” ) which is easy and relatively inexpensive to install on          of the impact against the lower tubular member .
a casing string and which can be used with conventional                    In one embodiment, the securing mechanism generally
float equipment such as float shoes and float collars, and 60 provides a convenient means to fluidically seal the rupture
with conventional equipment such as landing collars and                 disc within the casing string, and essentially, to facilitate
cementing plugs. Further, it would be desirable if the parts            rupturing of the disc, by the mechanisms described herein .
of the float chamber could be easily removed from the                   In one example , the securing mechanism is a shear ring, the
wellbore and /or that the removal could result in full casing           shear ring having a continuous side surface and a circum
ID so that various downhole operations could be readily 65              ferential aperture . The lower circumferential edge of the
performed following removal or opening of the buoyant                   shear ring includes a plurality of tabs inwardly extending
chamber .                                                               into the aperture .Generally, the threshold shearing pressure
          Case 6:20-cv-00699-ADA Document 1-1 Filed 07/30/20 Page 12 of 19


                                                       US 10,465,445 B2
                                 3                                                                       4
of the tabs is less than the rupture burst pressure of the disc         tubing either closer or farther from the wellhead and that
(e.g. the pressure at which hydraulic pressure alone causes        various embodiments of the present invention may be uti
rupture of the disc ), so that the tabs are sheared before the     lized in various orientations, such as inclined , deviated ,
disc is shattered . The shearing allows sudden or rapid free horizontal, vertical, etc.
movement of the disc in the direction of the lower tubular 5 Float Tool
member, so that the disc can be shattered by impact.                  Referring to the drawings, FIG . 1 shows an embodiment
   It is desirable for the rupture disc to be shattered into of a float tool, generally designated by the numeral 90, after
                                                                   the float tool has been run into wellbore 92. Float tool 90 is
sufficiently small pieces that the shattered pieces do not installed
damage the casing string, and so that the pieces do not clog                  within casing string 94. An annulus 110 may be
equipment (such as the float shoe) within the casing string. 10 defined     between   the casing and the wellbore 92.
                                                                      According to this embodiment, float tool 90 includes a
 To accomplish this , various configurations of the rupture
disc may be employed . For example, the rupture disc may rupture disc assembly 10. In the illustrated embodiment,
have a pattern of grooves etched on the out surface of the rupture disc assembly 10 is installed in the vertical portion
dome, the grooves providing lines ofweakness to facilitate 130 ofwellbore 92 , proximal to the bend 150 leading to the
breakage of the disc into suitably -sized pieces. The thickness 15 horizontal portion 140 of the wellbore . Variations in the
of the rupture disc may also be such as to improve the placement of the rupture disc assembly are possible . Gen
breakability characteristics . The small size of the pieces erally, the rupture disc assembly should be installed such to
allow the rupture disc assembly to be used with ball -drop maximize verticalweight on the casing string , while mini
systems (typically, the smallest ball drop is less than one mizing horizontal weight. Rupture disc assembly 10 forms
inch ).                                                         20 a temporary isolation barrier, isolating a fluid - filled , upper
   According to one embodiment, the float tool may further section of the string 93 from a sealed , buoyant chamber 120
comprise a debris catcher disposed on the casing string formed in the string between the rupture disc assembly 10
downhole of the disc to catch the disc pieces after the disc and        a sealing device, such as a float shoe 96 disposed at the
                                                                   lower end of the casing string.
has been broken .
   Various embodiments include an improved float tool for 25               Float shoe 96 forms the lower boundary of buoyant
creating a buoyant chamber in a casing string, wherein the              chamber 120. As will be appreciated , an alternative float
float tool comprises the above - described rupture disc assem           device, such as a float collar, may be used as a substitute for
bly ; a method that utilizes the present rupture disc assembly          float shoe 96 , or may be used in addition to float shoe 96 .
to first seal, and then unseal, a well casing ; a method that           Float shoes, float collars and similar devices are herein
utilizes the present rupture disc assembly as part of the 30 referred to as “ float devices”. In the illustrated embodiment,
installation of a casing ; a method that utilizes the present           both a float shoe 96 and float collar 98 are included . Float
rupture disc assembly as part of the running in of a casing             collar 98 may be positioned uphole of the float shoe 96 .
string into a wellbore .                                                When present, the float collar serves as a redundant fluid
                                                                       inflow prevention means. The float collar is similar in
        BRIEF DESCRIPTION OF THE SEVERAL                            35 construction to the float shoe , including a valve (not shown )
              VIEWS OF THE DRAWING ( S )                               that prevents wellbore fluid from entering the buoyant
                                                                       chamber . Similarly , the float shoe generally includes a check
   FIG . 1 is a cross -sectional view of a float tool according        valve (not shown ) that prevents inflow of fluid from the
to one embodiment installed within a casing string in a                wellbore during running in or lowering the casing string into
wellbore having both vertical and horizontal portions .             40 the wellbore.
   FIG . 2 is a cross -sectional view of a rupture disc assembly          Float shoes are generally known in the art. For example,
according to an embodiment that is adapted for installation            U.S.Pat. Nos. 2,117,318 and 2,008,818 describe float shoes .
in a casing string .                                                   Float shoes may be closed by assistance with a spring. Once
   FIG . 3 is schematic , perspective view of a rupture disc           closed , pressure outside the float shoe may keep the shoe
assembly according to one embodiment.                               45 closed . In some float shoes , its check valve can be opened
   FIG . 4A is an end view of a shear ring according to one            when fluid flow through the casing string is desired , for
embodiment.                                                            example , when cementing operations are to begin . In some
   FIG . 4B is a sectional view of a rupture disc holder with          cases, the float shoe may be drilled out after run -in is
a shear ring taken through line A - A in FIG . 4A .                    complete . When present, the float collar often has a landing
   FIG . 4C is an enlarged view of a portion of two tabs on 50 surface for a wiper displacement plug . In addition to a float
the shear ring shown in FIG . 4A .                                         shoe and /or float collar, a baffle collar and /or guide shoe may
   FIG . 5 is a perspective view of the rupture disc according be present. The present float tool 90 , and the rupture disc
to one embodiment, showing the surface etched in a grid assembly 10 therein , may be adapted to be compatible with
like pattern .                                                             most float shoes, landing collars and float collars.
   FIG . 6 is a schematic drawing of an etched rupture disc 55 Buoyant chamber 120 in float tool 90 may be created as
within a shear ring.                                                       a result of sealing of the lower end of casing string 94 with
   FIG . 7 is a perspective view of a debris catcher according float shoe 96 and sealing ofan upper end ofcasing string 94
to one embodiment that is adapted for installation in a casing with rupture disc assembly 10. Rupture disc assembly 10
string.                                                                    includes a rupture disc 30 that will be ruptured at a subse
                                                                        60 quent point in time, as will be discussed below . Rupture disc
                  DETAILED DESCRIPTION                                     30 is generally a hemispherical dome, having a convex
                                                                           surface 36 oriented in the up-hole direction , and having a
    In the following description , directional terms such as burst or rupture pressure (e.g. the pressure at which hydrau
“ above ” , “ below ” , “ upper” , “ lower” , “ uphole ” , “ downhole” , lic pressure alone can break the disc ) greater than the
etc. are used for convenience in referring to the accompa- 65 hydraulic pressure in the casing string when the casing string
nying drawings . One of skill in the art will recognize that is being run , so as to avoid premature breakage of the disc .
such directional language refers to locations in downhole The distance between float shoe 96 and rupture disc assem
         Case 6:20-cv-00699-ADA Document 1-1 Filed 07/30/20 Page 13 of 19


                                                   US 10,465,445 B2
                               5                                                                  6
bly 10 is selected to control the force tending to run the           installed . The landing collar is then installed on the casing
casing into the hole , and to maximize the vertical weight of       string. Drilling mud may be added to ensure that the float
the casing string, as noted above .                                  shoe 96 is functioning properly . No fluid is added to the
    Optionally, a debris catcher 70 may be installed downhole casing prior to installing the rupture disc assembly (unless
 of rupture disc assembly 10 , generally in the horizontal 5 that a liquid or a gas other than air is to be used ). Once a
portion 140 of the wellbore 92. The debris catcher may be desired amount of casing is run into the wellbore, rupture
any suitable means for capturing pieces of the rupture disc , disc assembly 10 is installed . The remaining casing is run in ,
 once shattered . For example, a filter , a baffle , a screen , etc. filling the casing with mud .
may be used as the debris catcher. In the illustrated embodi             The casing string, including float tool 90 , is run into
ment, a particular type of debris catcher 70 is shown, with 10 wellbore 91 until the friction drag on the casing string 94
projections on debris catcher 70 facing uphole so as to with the walls ofwellbore 92 will not allow the casing string
capture debris from rupture disc 30. The debris catcher can to be run to a greater depth . When run to the desired or
 be installed into the casing string by threaded connection , maximum depth , float shoe 96 may be located close to the
between a landing collar 100 and a pup joint (not shown ), “ toe ” or bottom of the wellbore 92. Rupture disc assembly
when   present. Further illustrative details of debris catcher 70 15 10 may be positioned in the vertical section 130 of thewell.
are presented hereinbelow .                                           The verticalweight of the casing string assists in overcom
   More particularly, landing collar 100 may be positioned ing drag on the casing string , allowing the casing string to
between sealing device 96 and rupture disc assembly 10 . be positioned to a greater depth , and/ or to be moved hori
 The landing collar may be present on the surface of the float zontally in the wellbore. The hydrostatic pressure during
collar , when present. Landing collar 100 may be generally 20 run -in must be less than the rupture burst pressure of rupture
 used in cementing operations for receiving cementing plugs, disc 30 , to prevent premature rupture of the disc . Generally,
 such as a wiper plug . Suitable landing collars are known in the rupture disc may have a pressure rating of 10,000 to
 the art, and float tool 100 does not require that a particular 30,000 psi, for example .
 landing collar be used , so long as the landing collar has             Once the casing has run and landed , circulating equip
surface for receiving a plug and so long as the landing collar 25 ment may be installed . The rupture disc is then burst by
 can be suitably installed on the casing string.                     pressuring the casing from surface. To accomplish this , fluid
    The region of the casing string between rupture disc pressure (e.g., from the surface ) is applied through the
assembly 10 and float shoe 96 has increased buoyancy. The casing string 94. The fluid exerts force on the convex side 36
casing in this region may be air- filled . When this is the case , of rupture disc 30 , and on a securingmechanism holding the
 there is no need to fill the casing string with fluid prior to 30 rupture disc in place , as discussed in further detail herein
running the casing string in , and there is no need to substitute below . The force is sufficient to overcome the engagement
the air in the casing once installed in the well . However, function of the securing mechanism , causing the disc to
 fluids of lesser density than the fluid in the upper casing suddenly move downward , and shatter against a region of
string 93 may be used . For example , the buoyant chamber the casing string ( such as an impact surface on a tubular ), as
may be filled with a gas such as nitrogen , carbon dioxide or 35 will be described in more detail below . Once the rupture disc
air, and other gases may also be suitable . Light liquids may has burst, fluid pumping is continued for a short time, and
also be used . Generally , the buoyant chamber must be filled then stopped . The rupture of the disc should be evident from
with fluid thathas a lower specific gravity than the well fluid the surface by observing both movement and sound . There
in the wellbore in which it is run , and generally , the choice may also be a pressure drop .
ofwhich gas or liquid to use , is dependent on factors such 40 After the steps involved in installing the float tool into the
as the well conditions and the amount of buoyancy desired . wellbore have been performed , and the disc has been shat
In order to fill the casing string with the lighter fluid or gas , tered , additional operations can be performed . Fluid flow
the casing string may be sealed with the float device , the through the casing string following rupture may allow the air
landing collar installed , and the casing ran into the wellbore or other fluid or gas thatwas in the buoyant chamber to rise
with air. The air may then be flushed out, and the string filled 45 to the surface and be vented from the casing string, for
with the gas or liquid from surface , prior to installing the example . The cavity can then be filled with other fluid (e.g.
rupture burst assembly . The buoyancy of the buoyant cham           non - flotation fluid ). For example , the casing string may be
ber assists in running the casing string to the desired depth . filled with drilling fluid . When float shoe 96 is opened ,
Method of Installing Casing String                                  conventional cementing operations can begin . It is also
    The float tool, and thus rupture disc assembly 10 , may be 50 possible to use the float tool of the present disclosure in
used in method of installing a casing string, and in a reverse cementing operations. In reverse cementing, a
method to float a casing. As noted above , running a casing cement slurry may be pumped down the annulus 110 , rather
string in deviated wells and in long horizontal wells can than through the casing . When cementing operations are
result in significantly increased drag forces . A casing string performed , a cement plug is delivered through the casing
may become stuck before reaching the desired location . This 55 string . The cement plug may assist in sweeping ruptured disc
is especially true when the weight of the casing in the fragments into debris catcher 70. Debris catcher 70 prevents
wellbore produces more drag forces than the weight tending fragments from entering the float shoe and /or float collar.
to slide the casing down the hole. When too much force is Alternatively , pieces of the shattered disc may be percolated
applied to push the casing string into the well, this can result to the surface . Further, because the casing ID is restored , the
 in damage to the casing string. The present float tool helps 60 present method and float tool are ideal for use in ball -drop
to address some of these problems.                                  systems.
    In the method of installing a casing string, the casing           Once the disc has been ruptured , the inside diameter of the
string 94 is initially made up at the surface . For example , casing string in the region of the rupture disc assembly 10 is
when present, the debris catcher 70 is generally connected substantially the same as that in the remainder of the casing
with the float shoe and/or float collar (e.g. the debris catcher 65 string (e.g. casing ID ( inner diameter ) is restored following
70 generally can be threadedly connected to float shoe 96 ). rupture of the disc ). One way to accomplish this may be to
 There may be one or more pup joints or similar piping have the disc installed in a widened region of the casing
         Case 6:20-cv-00699-ADA Document 1-1 Filed 07/30/20 Page 14 of 19


                                                   US 10,465,445 B2
                               7                                                                  8
string (e.g. within radially expanded portions of one or more using various means of connection . Upper tubular member
tubulars, the tubulars being connectable to other tubulars in 16 also has a radially expanded portion 29 to help accom
the casing string ). In other words, the tubular string can be modate disc 30 .
adapted to accommodate the diameter of the rupture disc .           Rupture disc 30 may be sealingly engaged between upper
 The ability to restore full casing ID is useful since downhole 5 tubular member 16 and lower tubular member 18 , concen
tools and the like can be deployed without restriction into the trically disposed traverse to the longitudinal axis of the
casing string once the disc has been removed , and since            upper and lower tubular members. In the illustrated embodi
 further work can be done without the need to remove any            ment   , a portion 32 of rupture disc 30 is a hollow , hemi
part of the float tool .                                            spherical dome, with a concave surface 38 that faces down
    The rupture happens almost instantaneously or rapidly, 10 direction
                                                                    hole and a convex surface 36 that is oriented in the up -hole
                                                                               . Hemispherical portion 32 is continuous with
and since full casing ID is restored ,maximum flow rates can cylindrical         portion 34 which terminates in a circumferential
be quickly achieved . Moreover,because the debris is small , edge 39 ‘having              a diameter that is similar to the inner
 there is little danger to the casing string from the ruptured diameter of the radially
pieces, and the potential for clogging is minimal. Compared 15 member 18 at shoulder expanded  26 .
                                                                                                        region 25 of lower tubular
 to many prior art devices, the present float tool is inexpen           The upper and lower tubulars can be understood to more
sive to manufacture . The rupture disc is ruptured by engage         generally constitute upper and lower portions of the overall
ment against a region of the casing string (hydraulic pressure assembly 10 .
shears the engagement of the rupture disc within the one or             In the illustrated embodiment, the diameter of disc 30 at
more tubular , allowing the disc to move downward and 20 edge 39 may be 4.8 inches, for example . The diameter of the
shatter ). There is no need to drop a weight into the casing top of the radially expanded region 25 of lower tubular
string to break the disc , for example .Moreover, there can be member 18 may be similar. The diameter of constricted
 various configurations of the rupture disc (grooved or etched opening 27 of lower tubular member 18 may be 4.5 inches
disc, disc of thinner thickness ) to improve the breakability of (which is a common ID for a casing, although other dimen
 the disc . This allows the disc to break into suitably sized 25 sions of both the disc and upper and lower tubularmembers
pieces that will not impair wellbore function. Generally, it are possible, provided that the disc seals the lower tubular
has been observed , that using the various methods and member and that the disc can be " forced ” close to or into the
devices disclosed herein , the fragments of the rupture disc constricted opening of the lower tubular member 18 and /or
may be smaller than about one inch , or less.                       against the radially expanded portion of lower tubular mem
Rupture Disc Assembly                                            30 ber 18 ). In this way, rupture disc is essentially installed
    FIG . 2 shows an illustrative implementation of rupture within a radially expanded region of the casing string.
disc assembly 10 , suitable for installation into the float tool        Other configurations are possible. For example, the disc
of FIG . 1. The rupture disc assembly 10 may consist of an 30 may be installed in one tubular, as opposed being
upper tubular member 16 defining an upper fluid passage sealingly engaged directly between the upper and lower
way 12 through its interior , coupled to a lower tubular 35 tubular (or within the lower tubular ), as is shown in the
member 18 defining a lower fluid passageway 14 through its illustrative embodiment. In this instance, the lower tubular
interior, and a rupture disc 30 sealingly engaged between would still have an impact surface for shattering the disc ,
upper tubular member 16 and lower tubular member 18 . including for instance , a radially expanded portion . The
Upper tubular member 16 may be coupled with lower lower tubularmember is engagable with the upper tubular
tubular member in such a way that the outer wall of lower 40 member at an interface below the disc . The impact surface
tubular member 18 overlaps at least a portion of the outer would still lead into a constricted opening of the lower
wall of upper tubular member 16. In the illustrated embodi     tubular member, into which the disc would be pushed , once
ment, upper tubular member 16 and lower tubular member the disc becomes disengaged .
18 may bemechanically joined together at 20 , which may be       As shown in FIG . 2 , a shear ring 44 may be sandwiched
a threaded connection . Various other interconnecting means 45 between the inner wall of lower tubularmember 18 and the
 that would be known to a person skilled in the art are walls of cylindrical portion 34 of rupture disc 30. Although
possible . A fluid seal between upper tubularmember 16 and FIG . 2 is a cross - sectional view for themost part, shear ring
the lower tubular member 18 may be provided by one or 44 is not depicted in cross -section . The shear ring 44
more seals. In the illustrated embodiment, the fluid seal is provides for seating rupture disc 30 in lower tubular member
created by an O -ring seal 22, with flanking back -up seals 24. 50 18 , and acts as a disengageable constraint.
   Lower tubular member 18 may include a radially                    Shear ring 44 is an example of a securing mechanism for
expanded region 25 with a tapered internal surface 58 , which disc 30 , the securing mechanism generally serving the
may be a frusto -conical surface ( e.g. lead -in chamfer ). The purpose of holding the rupture disc in the lower tubular
radially expanded region 25 is continuous with a constricted member ( or any tubular member when for example , alter
opening (represented by dash line 27 ), continuous with 55 native configurations are used where the disc is not directly
passageway 14 in lower tubular member 18. As will be between the lower and upper tubular member ), helping to
discussed below , various surfaces on lower tubular member         seal the rupture disc in the casing string , facilitating the
18 — most notably surface 58 can form impact surfaces for          rupture of the disc , and generally being shearable in
shattering the rupture disc . Although not shown in the            response to hydraulic pressure (e.g. being shearable or
Figure, inner surface 54 ofupper tubular member 16 may be 60 otherwise releasing the rupture disc in response to the
threaded for connection to other members of the casing             application of a threshold hydraulic pressure that is less that
string , and outer surface 56 of lower tubular member 18 may the rupture burst pressure of the disc ). For example, rather
also be threaded for connection to other members of the        than a shear ring , disc 30 may be held within a tubular or
casing string (not shown ). These other members of the between one or more tubular by shear pins, which serve as
casing string may have an ID similar to the diameter of the 65 a securing mechanism . Alternatively , disc may be held
constricted opening 27 of lower tubular member 18. It is within one or more tubulars by a ring held to one or more
noted that the tubulars may be connected to the casing string tubulars by a shearable device . The use of a device such as
         Case 6:20-cv-00699-ADA Document 1-1 Filed 07/30/20 Page 15 of 19


                                                    US 10,465,445 B2
                               9                                                                  10
shear ring 44 as the disengageable constraint is useful sufficientnumber of tabs 46 are sheared , rupture disc 30 may
because it precludes the need to make holes within the disc be freed or released from the constraints of shear ring 44 .
itself — as might be the case if shear pins were used as the Rupture disc 30 then moves suddenly downward in response
securing mechanism — thereby maximizing the fluidic seal. to hydraulic fluid pressure already being applied to convex
Also , the structure of shear ring 44 facilitates the restoration 5 surface 36 of rupture disc 30 , being pushed through the
of casing ID (e.g. no or few portions of the shear ring are left circumferential aperture 39 of shear ring 44. Once disen
extending into the inner diameter of the casing string , asmay gaged or otherwise released from shear ring 44 , rupture disc
be the case when shear pins are used in or as part of the 30 will impinge upon some portion of lower tubular member
securing mechanism ). Also , shear ring 44 has tabs or other 18 ( e.g. tapered surface 58 ,herein referred to as an example
projections that can be sheared in response to hydraulic 10 of an impact surface ) and break into multiple pieces as a
pressure , the tabs being eliminable from the casing string result. Thus, surface 58 serves as an impact surface . Surface
due to their small size and /or material properties that may 58, because it is angled , provides a wall against which the
permit dissolution of the tabs .                                    rupture disc is forced , and thus causes the disc to rupture .
    Shear ring 44 may be held between shoulder 26 of lower Any portion of the lower tubular may constitute an impact
tubular member 18 and end 28 of upper tubularmember 16 15 surface, provided that the impingement of disc with the
and may be sealed to lower tubularmember 18 by means of surface causes the disc to rupture . There is no need to rotate
a seal , which in the illustrated embodiment is O -ring 50. the casing string to cause the cutting surface to break the
Rupture disc 30 may be sealed to shear ring 44 by means of rupture disc , nor is there a need to install special sleeves
a seal, which in the illustrated embodiment is O - ring 52. within the casing string to create a cutting surface. The
O -ring 52 may be disposed in a groove or void , circumfer- 20 tubular within the casing string itself serves as the impact
entially extending around the cylindrical portion 34 of disc surface .
30. Various back - up ring members may be present. The                 It is noted that in the illustrated embodiment, shear ring 44
O - rings ensure a fluid tight seal as between the shear ring, is shown with tabs 46 extending inwardly from the circum
the rupture disc , and the upper and lower tubulars.                ferential rim of the ring, the disc being seated on tabs 46 .
    Rupture disc 30 is constrained from upward movement by 25 Other configurations are possible. For example , the tabs may
tapered surface 60 on upper tubularmember 16. The sealing not be connected directly to the shear ring , but through
engagement of rupture disc 30 within shear ring 44 and the variousholders extending from the shear ring , the tabs being
sealing engagement of shear ring 44 against the lower sheared from the connectors that remain with the shear ring .
tubular member 18 together with seals 22 and 24 create a Also , in some embodiments, itmay be possible that the tabs
 fluid - tight seal between the upper casing string and the 30 not be exactly at the rim of the shear ring or indeed , tabsmay
casing string downhole of rupture disc assembly 10 .                be attached directly to the side walls of the ring (e.g. there
    Although shear ring 44 serves as the disengageable con          is no rim on the ring ). In yet other embodiments , there may
straint or securing mechanism for rupture disc 30 in the            not be any tabs. As ted , other securing mechanisms are
illustrated embodiment, other securing mechanisms to hold           possible .
the rupture disc 30 in sealing engagementwithin the casing 35 Essentially, the rupture disc assembly , including shear
 string may be possible , provided that rupture disc 30 is free ring 44 , changes the load forces on disc 30. When hydraulic
 to move suddenly downward in the direction of the lower pressure is applied to the disc within the assembly, there is
tubular member, when freed or released from the constraints a combination of hydraulic pressure acting on the rupture
of the securing mechanism . Thus, rupture disc assembly 10 disc, as well as compressive forces forcing the rupture disc
may include any securingmechanism for sealingly engaging 40 into the constricted opening on lower tubular member 18
rupture disc 30 , and preferably , for seating rupture disc 30 (onto the one or more impact surfaces). The disc , seated on
against or within lower tubular member 18 .                         the tabs of the shear ring , is released and moves downward
    As illustrated in FIGS . 2 , 3 and 4A through 4C , shear ring once the tabs are sheared . The combination of the hydraulic
44 may comprise a hollow cylinder 42 with continuous side force and the impact force against an impact surface allow
walls 42, a circumferential aperture 41 , an upper surface 43 , 45 for shattering of the disc (e.g. the disc is impelled to impact
a lower surface 45 , and a circular rim 40 for seating the against an impact surface on the lower tubular member by
circumferential edge 39 of rupture disc 30. The circumfer the continued hydraulic pressure ). The shattering of rupture
ential aperture 39 is similar to or smaller than the diameter disc 30 results in opening of passageway 14 of lower tubular
of the top of radially expanded region 25 of lower tubular member 18 , so that the casing internal diameter in that
member 18. The sidewalls of cylindrical portion 34 of 50 region of lower tubular membermay be restored to substan
 rupture disc 30 are generally the same height as side walls tially the same diameter as the rest of the casing string (e.g.
42 of shear ring 44. This can best be seen in FIG . 6 , which the casing string above and below the tubular or region in
shows an etched rupture disc 30 within shear ring 44. This which the rupture disc was installed ).
 assists in improving the alignment of the rupture disc               Shear ring 44 may be generally made of metal, such as
assembly 10 within the casing string.                            55 brass , aluminum , various metal alloys, ceramics, and other
    As shown in FIGS. 4A -4C , shear ring 44 may comprise a materials may be used , provided that tabs 46 (or similar
plurality of tabs 46 spaced around the circumference of rim         breakable projections) can be suitably bent or sheared off
40. Tabs 46 may be separated by slots or spaces 48. Tabs 46 upon downward movement of rupture disc 30. It is also
may be bendable or shearable upon application of force (e.g. noted that tabs 46 are small enough that when sheared, they
hydraulic force ). For example , tabs may shear at 3,000-7, 60 do not affect wellbore equipment or function . Also , because
000 psi — the same pressure differential which will be across the ring and tabs may be constructed of acid soluble mate
 the convex side rupture disc and the concave side of rupture rial, the tabs may dissolve, depending on the fluid circulated
disc 30. This threshold pressure at which the securing down the wellbore .
mechanism shears, releasing the rupture disc , is less than the       Rupture disc 30 may be made of frangible material. For
rupture burst pressure of the disc ( e.g. the pressure at which 65 example , the disc 30 may be made of materials such as
the disc would break in response to hydraulic pressure carbides, ceramic, metals, plastics, glass, porcelain , alloys,
alone). Tabs 46 support and /or seat rupture disc 30. Once a composite materials, etc. These materials are frangible and
         Case 6:20-cv-00699-ADA Document 1-1 Filed 07/30/20 Page 16 of 19


                                                   US 10,465,445 B2
                              11                                                                 12
rupture in response to either a sharp blow or in response to        which would be difficult and time-consuming . The present
a pressure differential when high pressure is applied to the        rupture assembly avoids this need by relying on a combi
concave side of the disc . Thus , hemispherical discs are           nation of forces and not on hydraulic pressure alone. Finally,
preferred because of their ability to withstand pressure from       it is likely that for hydraulic pressure alone to be the sole
the convex side. The rupture disc must have sufficient 5            breaking mechanism , the discs would have to be manufac
rupture strength to prevent premature opening when the              tured to be thinner, which is difficult to achieve.
casing string is run into the well .                                    The present Applicanthas found that a rupture disc having
   Rupture disc 30 may be calibrated to rupture at a prede          side walls on the cylindrical portion 34 generally corre
termined pressure in i response to a pressure differentialwhen      sponding in height to side walls 42 of the continuous side
high pressure is applied to the convex surface 36 of disc 30.    10 surface of the shear ring to be useful. For example, the side
 The disc 30 should have a threshold rupture pressure that is       walls of the rupture disc may be about 2.0 to 2.5 inches in
greater than the hydraulic pressure required to bend or shear       height, when the rupture disc is installed in 4.5 or 5.5 inch
tabs 46 (or other projections) on shear ring 44. This feature       casing . This allows for greater stability of the rupture disc
helps to ensure that the rupture disc 30 does not rupture as assembly within the casing string. In addition, to improve
a result of hydraulic pressure alone (because the threshold 15 the breakability of the rupture disc , various other modifica
rupture burst pressure of the disc 30 may exceed a pressure tions of the disc may be adopted . For example, the rupture
that is suitable for maintaining casing integrity), but rather disc may be of an overall smaller thickness . The thinner the
may be ruptured by being forced against surface 58 of the disc , the greater the likelihood that the disc will be shattered
 lower tubular member 18. One example of a suitable rupture into sufficiently small pieces that will not impair wellbore
disc 30 is the burst disc offered by Magnum Oil Tools 20 function. For example , a suitable disc may have a thickness
International, LLC (Corpus Christi , Tex . 78405) [www.mag of3/16th inches. In any event, the rupture disc should be thick
numoiltools.com/assets/files/                                  enough to avoid premature rupture .
Magnum_Single % 20Magnum Disk_04-30-2012Back.pdf].                Another modification to improve breakability of the disc
See also U.S. Pat. No. 5,924,696 to Frazier. Alternatively, is to etch , score, engrave or form grooves in the outer surface
appropriate discs may be manufactured to suit particular 25 of the disc . For example , rupture disc 30 may be etched in
needs.                                                         a grid - like pattern shown in FIG . 5. The etching , scoring , etc.
   Rupture disc assembly 10 provides a way for a sealed may be accomplished by drawing an etching tool, a knife
casing string to become unsealed while requiring less edge or other sharp tool along an outline made on the outer
hydraulic pressure than prior art rupture disc approaches. surface of the rupture disc . An O -ring groove 67 holds
 This is because the presence of shear ring 44 (or other 30 O -ring 69. The etching, scoring or grooving provides lines
securing mechanism ) allows pressure to be built up against of weakness to improve rupture characteristics . The disc
the upper surface 38 of the rupture disc until the point is tends to rupture along the score lines. Smaller pieces are
reached at which shear ring suddenly gives way . The result        desirable because the smaller pieces can be percolated up the
 ing sudden downward impulse experienced by the rupture            casing string to surface , for example , or so that the smaller
disc causes it to forcefully impact on the impact surface of 35    pieces can be easily swept down the casing string .
the lower tubular. The sudden acceleration and just -as               FIG . 7 shows an illustrative implementation of debris
sudden deceleration of the rupture disc thus caused - com          catcher 70 (See FIG . 1). When the well is at least partially
bined with the tendency of frusto - conical shape of surface       horizontal, debris catcher 70 may be generally installed in
58 to apply deformation forces against the rupture disc and        the horizontal section of the well. Debris catcher 70 com
further combined with the continuing hydraulic force on 40         prises a base 72 having an outside diameter approximately
surface 38 result in the rupturing of disc 30. By contrast,        the same as the inner diameter of the casing string into which
 greater hydraulic pressure would be required to rupture the       it may be to be incorporated . Base 72 may be externally
same disc if the only mechanism at play to rupture the disc        threaded in one ormore selected portions to allow placement
were to be the hydraulic pressure itself.                          in the casing string . A plurality of hollow projections 74
    Without being bound by theory , in the present rupture disc 45 extend upwardly from base 72. Projections 74 may be
assembly , the impact force on rupture disc 30 , combined substantially hollow cylinders , each defining a central fluid
with the hydraulic pressure , accomplish the breaking of passageway 78 for allowing fluid to flow across debris
rupture disc. The impact force, combined with the deforma catcher 70 and into the lower casing string. Apertures 80
tion of the disc caused by the taper of impact surface 58, may be formed in the tubular walls of projections 74. In
compensate for the fact that the hydraulic pressure is less 50 operation , any pieces of disc 30, once ruptured , that exceed
than what would be required if only hydraulic pressure was the diameter of fluid passageway 78 may generally fall onto
being used . Likely, rupture disc 30 would not reliably and /or upper surface 76 of base 72 .
 fully break apart if the hydraulic pressure were to be               Thus, the debris catcher 70 may allow fluid flow through
removed at the exact moment that shear ring 44 releases the casing string while preventing debris from disc 30 , when
rupture disc 30 , and disc 30 begins its downward movement. 55 ruptured , from clogging other equipment in the casing string
 The combination of the impact force and deformation , along (such as float devices ) and damaging the casing string .
with the applied (lower than would otherwise be required ) Rupture disc 30 may be breakable into pieces that may be
pressure may cause the disc to break .                             sufficiently small that their presence does not affect subse
     There are various reasons why the combination ofhydrau        quent wellbore operations. For example , float tool 90 ( see
 lic pressure, and the impact force, is useful for breakage of 60 FIG . 1) may include equipment that allows fluid to percolate
the disc , as opposed to use of hydraulic pressure alone. For to the surface, carrying with it the pieces of disc 30 , once
example, when the discs are made of ceramic , breakage of shattered . Thus , debris catcher 70 may not be needed in all
the disc using hydraulic pressure alone may not be that cases. Also, as a person skilled in the art would appreciate ,
reproducible. The discs may be susceptible to point loading , other means of capturing debris from shattered disc 30 may
and imperfections in machining of the discs could cause the 65 be possible . For example, a screen or baffle device may serve
discs to break prematurely . Also , each disc would have to be as a debris catcher. The debris catcher can be any device that
adjusted to suit each particular hydraulic pressure rating , substantially captures the shattered pieces of the disc 30
         Case 6:20-cv-00699-ADA Document 1-1 Filed 07/30/20 Page 17 of 19


                                                     US 10,465,445 B2
                               13                                                                   14
while still allowing fluid flow down the casing string . In      understand that various changes and modifications may be
addition , once ruptured , a cementing plug may be delivered    made without departing from the scope of the present
through the casing string to the landing collar. The cement      invention as literally and equivalently covered by the fol
ing plug can assist in sweeping debris to the debris catcher. lowing claims.
   Referring back to FIG . 1, in a method of using the rupture 5 What is claimed is :
disc assembly in a float tool, once the float tool is run into      1. A float tool configured for use in a casing string for a
the desired depth as described above , sufficient hydraulic wellbore containing a well fluid , the casing string having an
pressure is applied . The tabs 46 on shear ring 44 may be internal diameter that defines a fluid passageway between an
sheared in response to the pressure , disengaging or other upper portion of the casing string and a lower portion of the
wise releasing disc 30 through aperture 41 of ring 44. The 10 casing string, the float tool comprising:
continued downward movement of rupture disc 30 may                   a rupture disc assembly comprising (i) a tubular member
cause it to engage against impact surface 58 of lower tubular          having an upper end and a lower end , the upper and
member 18 with sufficient force to cause the rupture of disc            lower ends configured for connection in - line with the
 30. The shattered pieces are either swept via fluid flow               casing string and ( ii ) a rupture disc having a rupture
and /or using a cementing plug to the debris catcher 70. Full 15        burst pressure and in sealing engagement with a region
casing ID is restored .                                                of the tubular member within the upper and lower ends,
                                                                     wherein the rupture disc is configured to rupture when
                         EXAMPLES                                       exposed to a rupturing force greater than the rupture
                                                                        burst pressure and the region of the tubular member
    Weightreduction : In certain examples, a 54 % reduction in 20      where the rupture disc is attached has a larger internal
lateral casing weight was achieved using the float tool of the          diameter than the internal diameter of the casing string
present invention . In one particular example , the casing              and is parallel to the internal diameter of the casing
weight in air was 17.3 kg/m (11.9 lb /ft). The casing weight            string.
 in water was 15.1. kg /m ( 10.4 lb / ft ). The effective casing     2. The float tool recited in claim 1 wherein the wellbore
weight using the float tool of the present invention was 6.9 25 has an upper, substantially vertical portion , a lower, sub
kg/m (4.8 lb / ft ).                                              stantially horizontal portion , and a bend portion connecting
    Sample Calculations: An example calculation of surface the upper and lower portions and the float tool is configured
pressure is presented . The well true vertical depth is 1,500 for use in the casing string such that, when the casing string
m (4,920 ft ). The fluid density is 1,050 kg/m . The bottom is positioned in the wellbore for a cementing operation , the
hole pressure is 15.4 MPa (2240 psi ). The minimum rupture 30 rupture disc is located in the upper , substantially vertical
burst pressure rating is therefore 2240 psi+ 500 psi = 2740 psi. portion of the wellbore .
 The rupture burst pressure of the assembly is 3000 psi . The        3. The float tool recited in claim 2 wherein the float tool
surface pressure is calculated as Surface Pressure = Rupture is configured for use in the casing string such that, when the
Burst Pressure Rating less Bottom Hole Hydrostatic Pres casing string is positioned in the wellbore for a cementing
sure. In the present case, 3000 psi less 2240 psi = 860 psi 35 operation , the rupture disc is located proximate the bend
(5.93 MPa ). In another example, if the differential pressure portion of the wellbore.
inside the tubing is 11,500 kpa ( 1,669 psi), the rupture disc   4. The float tool recited in claim 1 further comprising:
should rupture at 18,600 kPa - 11,500 kPa= 7,100 kPa , or             a shear ring to sealingly engage the rupture disc in the
 1,030 psi applied surface pressure .                                    region of the tubular member.
    Example on installation of the float tool: When installing 40 5. The float tool recited in claim 1 wherein the rupture disc
into a well, it is generally recommended that the various comprises a hemispherical dome of frangible material hav
sweeps be used to ensure the wellbore is clean prior to ing a convex surface oriented in an up -hole direction .
 installing the float tool. The float tool may be provided            6. The float tool recited in claim 5 wherein the frangible
pre-assembled (e.g. it may include a landing collar, debris material is selected from the group consisting of carbides ,
catcher , a float shoe and /or float shoe ). When the float tool 45 ceramics, metals , plastics, glass , porcelain , alloys, and com
is not pre -assembled , it can be made up and run in the posite materials.
following manner. The debris catcher has a threaded base ,            7. The float tool recited in claim 5 wherein the dome of
and can be hand -screwed into the top of the float shoe . If a frangible material has a pattern of grooves in an outer
debris catcher such as that described herein is used , the surface thereof, the grooves configured to provide lines of
projections face uphole . The landing collar is installed above 50 weakness to facilitate breakage of the disc into a plurality of
the debris catcher, such that the debris catcher is threadedly pieces.
connected between the landing collar and the float shoe/ float        8. The float toolrecited in claim 1 wherein the rupture disc
collar . A casing joint may be installed above the landing forms an upper seal of a sealed chamber.
collar, and the casing joint may be filled with drilling mud           9. The float tool recited in claim 8 wherein the sealed
to ensure the float shoe is functioning properly. The present 55 chamber is configured for releasably containing a fluid
method allows for casing sleeves to be installed, provided          having a lower specific gravity than that of the well fluid .
that there is sufficient space between the landing collar and          10. The float tool recited in claim 9 wherein the fluid
the sleeve . After a desired amount of liner is run in , the        having a lower specific gravity than that of the well fluid is
rupture assembly is installed . The casing is run in , filling on   released upon rupture of the rupture disc .
the fly with mud from a pill tank . Once the casing is ran , 60        11. The float tool recited in claim 8 wherein the sealed
circulating equipment may be installed. The rupture disc            chamber is filled with a fluid having a lower specific gravity
assembly is ruptured by pressurizing the casing . Mud is            than that of the well fluid .
swept to the ends of the casing. Fluid is circulated to                12. The float tool recited in claim 11 wherein the fluid in
condition the wellbore , and to clean mud .                         the sealed chamber is a gas .
   Although particular embodiments of the present invention 65         13. The float tool recited in claim 12 wherein the gas is air .
have been shown and described , they are not intended to               14. The float tool recited in claim 8 further comprising a
limit what this patent covers. One skilled in the art will          lower seal on the sealed chamber.
          Case 6:20-cv-00699-ADA Document 1-1 Filed 07/30/20 Page 18 of 19


                                                   US 10,465,445 B2
                               15                                                                  16
   15. The float tool recited in claim 14 wherein the lower             28. A float tool configured for use in positioning a casing
seal is within a float shoe .                                        string in a wellbore containing a well fluid , the casing string
   16. The float tool recited in claim 14 wherein the lower          having an internal diameter that defines a fluid passageway
seal is within a float collar.                                       between an upper portion of the casing string and a lower
    17. The float tool recited in claim 14 further comprising: 5     portion of the casing string , the float tool comprising :
a landing collar positioned between the rupture disc and the            a rupture disc assembly comprising (i) a tubular member
lower seal.                                                               having an upper end and a lower end , the upper and
   18. The float tool recited in claim 8 wherein a portion of              lower ends configured for connection in - line with the
the sealed chamber is buoyant in the well fluid .                          casing string and (ii) a rupture disc having a rupture
    19. The float tool recited in claim 1 further comprising: 10          burst pressure and in sealing engagement with a region
   a debris catcher disposed on the casing string downhole of              of the tubularmember within the upper and lower ends,
     the rupture disc .                                                 wherein the rupture disc is configured to disengage from
   20. The float tool recited in claim 19 wherein the debris
catcher comprises a filter configured to capture pieces of the             sealing engagement when exposed to a pressure greater
rupture disc after the rupture disc has ruptured .               15        than a hydraulic pressure in the casing string after the
   21. The float tool recited in claim 19 wherein the debris               casing string has been positioned in the wellbore and
catcher comprises a base having an outside diameter                        the region of the tubular member where the rupture disc
approximately the same as the full casing internal diameter                is attached has a larger internal diameter than the
of the casing string , a plurality of hollow projections having           internal diameter of the casing string and is parallel to
tubular walls with one or more apertures formed therein said 20          the internal diameter of the casing string .
projections being substantially hollow cylinders attached to           29. The float tool recited in claim 28 wherein the rupture
and extending upwardly from the base , each defining a disc is further configured to rupture when exposed to a
central fluid passageway configured to allow fluid to flow rupturing force greater than the rupture burst pressure and
across the debris catcher and into the lower portion of the the pressure greater than the hydraulic pressure is less than
casing string .                                                  25 the rupture burst pressure .
   22. A method for installing casing in a wellbore contain            30. The float tool recited in claim 28 wherein the wellbore
ing a well fluid and having an upper vertical portion , a lower has an upper, substantially vertical portion , a lower, sub
horizontal portion , and a bend portion connecting the upper stantially horizontal portion , and a bend portion connecting
and lower portions, the method comprising :                         the upper and lower portions and the float tool is configured
   running a casing string into the wellbore , the casing string 30 for use in the casing string such that, when the casing string
     having n internal diameter that defines a fluid passage         is positioned in the wellbore for a cementing operation , the
     way between an upper portion of the casing string and           rupture disc is located in the upper, substantially vertical
      a lower portion of the casing string, the upper and lower      portion of the wellbore .
      portions of the casing string separated by a chamber              31. The float tool recited in claim 30 wherein the float tool
      sealed on one end by a rupture disc assembly and on an 35 is configured for use in the casing string such that, when the
      opposing end by a seal, the chamber containing a first casing string is positioned in the wellbore for a cementing
      fluid having a first specific gravity                      operation , the rupture disc is located proximate the bend
  wherein the rupture disc assembly comprises (i) a tubular portion of the wellbore .
     member having an upper end and a lower end , the               32. The float tool recited in claim 28 further comprising:
     upper and lower ends connected in - line with the casing 40 a shear ring sealingly engaging the rupture disc in the
      string and ( ii ) a rupture disc having a rupture burst         region of the tubular member .
      pressure and in sealing engagement with a region of the       33. The float tool recited in claim 28 wherein the rupture
      tubular member within the upper and lower ends, disc comprises a hemispherical dome of frangible material
     wherein the rupture disc is configured to rupture when having a convex surface oriented in an up-hole direction .
      exposed to a rupturing force greater than the rupture 45 34. The float tool recited in claim 33 wherein the frangible
     burst pressure and the region of the tubular member material is selected from the group consisting of carbides ,
     where the rupture disc is attached has a larger internal ceramics,metals, plastics, glass , porcelain , alloys, and com
      diameter than the internal diameter of the casing string posite materials .
      and is parallel to the internal diameter of the casing        35. The float tool recited in claim 33 wherein the dome of
      string ; and                                            50 frangible material has a pattern of grooves in an outer
   floating at least a portion of the casing string containing surface thereof, the grooves configured to provide lines of
      the sealed chamber in the well fluid in the lower weakness to facilitate breakage of the disc into a plurality of
     horizontal portion of the wellbore .                        pieces .
   23. The method recited in claim 22 further comprising:           36. The float tool recited in claim 28 wherein the rupture
   filling the casing string above the rupture disc assembly 55 disc forms an upper seal of a sealed chamber.
      with a second fluid having a second specific gravity              37. The float tool recited in claim 36 wherein the sealed
      higher than the first specific gravity .                       chamber is configured for releasably containing a fluid
   24. The method recited in claim 23 wherein the first              having a lower specific gravity than that of the well fluid .
specific gravity is less than a specific gravity of the well           38. The float tool recited in claim 37 wherein the fluid
fluid .                                                           60 having a lower specific gravity than that of the well fluid is
   25. The method recited in claim 23 wherein the first fluid        released upon disengagement of the rupture disc .
is air.                                                                 39. The float tool recited in claim 36 wherein the sealed
   26. The method recited in claim 25 wherein the second             chamber is filled with a fluid having a lower specific gravity
fluid is a liquid -phase fluid .                              than that of the well fluid .
   27. The method recited in claim 22 further comprising 65 40. The float tool recited in claim 39 wherein the fluid in
applying a rupturing force to the rupture disc to rupture the the sealed chamber is a gas .
rupture disc.                                                   41. The float tool recited in claim 40 wherein the gas is air .
         Case 6:20-cv-00699-ADA Document 1-1 Filed 07/30/20 Page 19 of 19


                                                     US 10,465,445 B2
                               17                                                                   18
  42. The float tool recited in claim 36 further comprising       wherein the rupture disc assembly comprises (i) a tubular
a lower seal on the sealed chamber.                                   member having an upper end and a lower end , the
  43. The float tool recited in claim 42 wherein the lower            upper and lower ends connected in - line with the casing
seal is within a float shoe .                                         string and (ii ) a rupture disc having a rupture burst
   44. The float tool recited in claim 42 wherein the lower 5         pressure and in sealing engagement with a region of the
seal is within a float collar.                                        tubular member within the upper and lower ends,
   45. The float tool recited in claim 42 further comprising :    wherein the rupture disc is configured to disengage from
a landing collar positioned between the rupture disc and the          sealing engagementwhen exposed to a pressure greater
lower seal.                                                           than  a hydraulic pressure in the casing string after the
   46. The float tool recited in claim 36 wherein the sealed 10       casing string has been positioned in the wellbore and
chamber is sized such that a portion of the sealed chamber            the region of the tubularmemberwhere the rupture disc
is buoyant in the well fluid .                                        is attached has a larger internal diameter than the
   47. The float tool recited in claim 28 further comprising:         internal diameter of the casing string and is parallel to
   a debris catcher disposed on the casing string downhole of 15 floatinginternal
                                                                      the           diameter of the casing string; and
                                                                             at least a portion of the casing string containing
      the rupture disc .                                              the sealed chamber in the well fluid in the lower
   48. The float tool recited in claim 47 wherein the debris
catcher comprises a filter configured to capture pieces of the        horizontal  portion of the wellbore.
rupture disc after the rupture disc has ruptured .                51. The method recited in claim 50 further comprising :
   49. The float tool recited in claim 47 wherein the debris       filling the casing string above the rupture disc assembly
catcher comprises a base having an outside diameter 20                with a second fluid having a second specific gravity
approximately the same as the full casing internal diameter           higher than the first specific gravity .
                                                                  52. The method recited in claim 51 wherein the first
of the casing string , a plurality of hollow projections having specific
tubular walls with one or more apertures formed therein said               gravity is less than a specific gravity of the well
projections being substantially hollow cylinders attached to           fluid .
and extending upwardly from the base , each defining a            25      53. The method recited in claim 51 wherein the first fluid
central fluid passageway configured to allow fluid to flow             is air.
                                                                          54. The method recited in claim 53 wherein the second
across the debris catcher and into the lower portion of the fluid is a liquid -phase fluid .
casing string .
                                                                      55. The method recited in claim 50 further comprising
ing50.a well
         A method for installing casing in a wellbore contain
             fluid and having an upper vertical portion, a lower 30 hydraulic
                                                                    applying apressure
                                                                                pressure within
                                                                                         in the the  casingstring
                                                                                                 casing       stringto greater than the
                                                                                                                        disengage   the
horizontal portion , and a bend portion connecting the upper rupture disc from sealing          engagement.
and lower portions, the method comprising :
   running a casing string into the wellbore, the casing string disc56.isThefurther
                                                                               method recited in claim 55 wherein the rupture
       having an internal diameter that defines a fluid pas 35 rupturing force configured         to rupture when exposed to a
       sageway between an upper portion of the casing string the pressure greater than the the
                                                                                     greater than      rupture burst pressure and
        and a lower portion of the casing string, the upper and the rupture burst pressure . hydraulic pressure is less than
       lower portions of the casing string separated by a             57. The method recited in claim 56 further comprising
        chamber sealed on one end by a rupture disc assembly applying         a rupturing force to rupture the rupture disc.
       and on an opposing end by a seal, the chamber con
       taining a first fluid having a first specific gravity
